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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No.: 19-cv-00874-MSK-MEH

  WARNER BROS. RECORDS INC., ATLANTIC RECORDING CORPORATION, BAD
  BOY RECORDS LLC, ELEKTRA ENTERTAINMENT GROUP INC., FUELED BY
  RAMEN LLC, NONESUCH RECORDS INC., ROADRUNNER RECORDS, INC., WEA
  INTERNATIONAL INC., WARNER/CHAPPELL MUSIC, INC., WARNER-
  TAMERLANE PUBLISHING CORP., WB MUSIC CORP., W.B.M. MUSIC CORP.,
  UNICHAPPELL MUSIC INC., RIGHTSONG MUSIC INC., COTILLION MUSIC, INC.,
  INTERSONG U.S.A., INC., SONY MUSIC ENTERTAINMENT, ARISTA MUSIC,
  ARISTA RECORDS LLC, LAFACE RECORDS LLC, PROVIDENT LABEL GROUP,
  LLC, SONY MUSIC ENTERTAINMENT US LATIN, VOLCANO ENTERTAINMENT
  III, LLC, ZOMBA RECORDINGS LLC, SONY/ATV MUSIC PUBLISHING LLC, EMI
  AL GALLICO MUSIC CORP., EMI ALGEE MUSIC CORP., EMI APRIL MUSIC INC.,
  EMI BLACKWOOD MUSIC INC., COLGEMS-EMI MUSIC INC., EMI CONSORTIUM
  MUSIC PUBLISHING INC. D/B/A EMI FULL KEEL MUSIC, EMI CONSORTIUM
  SONGS, INC., INDIVIDUALLY AND D/B/A EMI LONGITUDE MUSIC, EMI
  ENTERTAINMENT WORLD INC. D/B/A EMI FORAY MUSIC, EMI JEMAXAL
  MUSIC INC., EMI FEIST CATALOG INC., EMI MILLER CATALOG INC., EMI
  MILLS MUSIC, INC., EMI UNART CATALOG INC., EMI U CATALOG INC., JOBETE
  MUSIC CO. INC., STONE AGATE MUSIC, SCREEN GEMS-EMI MUSIC INC., STONE
  DIAMOND MUSIC CORP., UMG RECORDINGS, INC., CAPITOL RECORDS, LLC,
  UNIVERSAL MUSIC CORP., UNIVERSAL MUSIC – MGB NA LLC, UNIVERSAL
  MUSIC PUBLISHING INC., UNIVERSAL MUSIC PUBLISHING AB, UNIVERSAL
  MUSIC PUBLISHING LIMITED, UNIVERSAL MUSIC PUBLISHING MGB LIMITED,
  UNIVERSAL MUSIC – Z TUNES LLC, ISLAND MUSIC LIMITED, POLYGRAM
  PUBLISHING, INC., AND SONGS OF UNIVERSAL, INC.

               Plaintiffs,

  v.

  CHARTER COMMUNICATIONS, INC.

               Defendant.


       NOTICE OF NAME CHANGE AND UNOPPOSED MOTION TO AMEND CAPTION




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         Plaintiffs, by and through undersigned counsel, hereby submit this Notice of Name

  Change and Unopposed Motion to Amend Caption. As grounds for the Motion, Plaintiffs state as

  follows:

                               CERTIFICATION OF CONFERRAL

         Pursuant to D.C.Colo.LCiv. 7.1(a) and Mag. Judge Hegarty Civ. Practice Standard III

  (A), the undersigned counsel for Plaintiffs has conferred with Defendant’s counsel prior to filing

  this Motion. Counsel for Defendant does not oppose the relief sought herein.

                                      NOTICE AND MOTION

         Plaintiffs hereby provide notice that three of the listed plaintiffs in this matter legally

  changed their names subsequent to the filing of the complaint, and therefore, Plaintiffs move the

  Court for leave to amend the caption to reflect the legal name changes.

         The following entities have legally changed their names as follows:

                 1.      Warner Bros. Records Inc. is now “Warner Records Inc.”

                 2.      Warner/Chappell Music, Inc. is now “Warner Chappell Music, Inc.”

                 3.      W.B. M. Music Corp. is now “W.C.M. Music Corp.”

         Plaintiffs’ motion merely addresses an administrative matter and does not seek

  substantive relief. A motion to amend the caption is not, and does not require, a motion for leave

  to amend the complaint. Woodard v. Tate & Kirlin Assoc., 2008 WL 11470999, *3 fn. 1 (N.D.

  Ga. April 22, 2008); Armstead v. Best Buy Stores, L.P., 2006 WL 1455651, *2 fn. 1 (E.D. Wash.

  May 22, 2006).




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         WHEREFORE, Plaintiffs hereby request this Court grant them leave to amend the above

  caption to reflect the legal name change of three of the listed Plaintiffs. A proposed order is

  submitted herewith.

         Respectfully submitted this 8th day of August, 2019.


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 8th day of July, 2019, a true and correct copy of the foregoing
  was filed and served with the Clerk of the Court via the CM/ECF system, which will send
  notification of such filing to the following email addresses:

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                                                        s/ Brenda Trujillo
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